          Case 6:24-cv-00362-XR Document 51 Filed 09/25/24 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION
 FACTOR2 MULTIMEDIA SYSTEMS, LLC,                   §
 Plaintiff                                          §
                                                    §
 vs.                                                §      Case No. W-24-CA-00362-XR
                                                    §
 EARLY WARNING SERVICES, LLC et al.                 §
 Defendants                                         §


                                            ORDER

       On this date, the Court considered the Motion for Admission Pro Hac Vice (ECF No. 47)

filed by Anna Rebekah Hill, Illinois Bar No. 6345666 (“Applicant”), counsel for Wells Fargo &

Company, and the Court, having reviewed the motion, enters the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED.

       IT IS FURTHER ORDERED that Applicant, if he/she has not already done so, shall

immediately tender the amount of $100.00, made payable to: Clerk, U.S. District Court, in

compliance with Local Court Rule AT-1(f)(2).

       IT IS FURTHER ORDERED that if the corresponding Motion for Admission Pro Hac

Vice was e-filed, the attorney who filed the Motion on behalf of the Applicant is DIRECTED to

notify the Applicant of this order.

       IT IS FINALLY ORDERED that, pursuant to the Administrative Policies and Procedures

for Electronic Filing in Civil and Criminal cases in the Western District of Texas, Applicant shall

register as a filing user within 10 days of the date of this Order, if he/she has not previously

done so on a prior case in this District. Registration is managed by the PACER Service Center.
  Case 6:24-cv-00362-XR Document 51 Filed 09/25/24 Page 2 of 2




It is so ORDERED.

SIGNED this September 25, 2024




                                     XAVIER RODRIGUEZ
                                     UNITED STATES DISTRICT JUDGE




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